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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1)    NAUDIA HARJO,                              )
                                                    )
         Plaintiff,                                 )
                                                    ) Civil Action No. 4:21-cv-321-GKF-SH
  v.                                                )
                                                    )
  (1)    ZEBCO SALES COMPANY,                       )
         LLC, and                                   )
  (2)    AMERICAN STAFFCORP, INC.,                  )
                                                    )
         Defendants.                                )

                         PLAINTIFF'S ORIGINAL COMPLAINT
                           AND DEMAND FOR JURY TRIAL

         Plaintiff, NAUDIA HARJO, files this action against Defendants and by way of

  complaint against Defendants alleges the following:

                                      I. Nature of Action

         1.1     This jury action seeks redress for Defendants’ violations of the laws of the

  United States in connection with the termination of Plaintiff's employment. The action

  specifically seeks to enforce rights created under Title VII of the Civil Rights Acts of 1964

  (“Title VII”), 42 U.S.C. § 2000e, et. seq., prohibiting race, color and sex discrimination,

  racial harassment and retaliation in employment based upon race, color and sex and under

  42 U.S.C. § 1981 (“Section 1981”) prohibiting race and color discrimination and racial

  harassment and retaliation in employment based upon race and color.           As redress for

  Defendants’ violations of these statutes and OADA, Plaintiff prays for and demands

  declaratory, legal and equitable relief, including back pay, reinstatement or, in the


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  alternative, front pay, punitive or liquidated damages, damages for emotional distress and

  attorney fees and costs which will be established at the trial of this cause.

                                    II. Jurisdiction and Venue

            2.1   This Court has jurisdiction over Plaintiff’s Title VII claims brought under

  federal law pursuant to 42 U.S.C. § 2000e-5(f)(3), 42 U.S.C. § 1981, 28 U.S.C. § 1331,

  28 U.S.C. § 1343 and 28 U.S.C. § 2201.

            2.2   Venue is proper in this Court pursuant to 28 U.S.C. § 1392 and 42 U.S.C.

  §2000e-5(f)(3), because all or a substantial part of the events or omissions giving rise to

  the claims set forth herein occurred within the judicial district of this Court and because

  the Defendants reside within the judicial district of this Court.

            2.3   This Court has pendent jurisdiction over the claims arising under the laws

  of the State of Oklahoma since all of Plaintiff’s claims arise from a common nucleus of

  operative facts and are so intertwined as to make the Court's exercise of pendent

  jurisdiction reasonable.

            2.4   All conditions precedent to Plaintiff's entitlement to relief in this action have

  been fulfilled and satisfied. On February 19, 2021 Plaintiff filed a Charge of discrimination

  and retaliation with the EEOC against each Defendant. On June 14, 2021, the EEOC issued

  a Notices of Right to Sue as to each charge and this lawsuit was instituted within the 90-day

  period.

                                           III.   Parties

            3.1   Plaintiff is a female citizen of the United States and a resident of Tulsa

  County, Oklahoma.
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        3.2    Defendant Zebco Sales Company, LLC is a foreign limited liability

  company registered to do business in the State of Oklahoma. Process may be served

  upon its registered agent: The Corporation Company, 1833 S. Morgan Road, Oklahoma

  City, OK. 73128.

        3.3    Defendant American StaffCorp is a domestic for profit business

  corporation. Process may be served upon its registered agent: David Lamb, 10922 South

  Knoxville, Tulsa, OK. 74137.

        3.4    Based upon information and belief, Defendant American StaffCorp is a

  staffing agency. Defendant American StaffCorp sent Plaintiff to work at the facility

  owned and operated by Defendant Zebco Sales Company.                 During Plaintiff’s

  employment at the facility owned and operated by Defendant Zebco Sales Company,

  Defendant American StaffCorp issued to Plaintiff her paycheck. Plaintiff took direction

  and control from Defendant Zebco Sales Company. Plaintiff reported discrimination and

  harassment to both Defendants. Defendant Zebco Sales Company suspended Plaintiff’s

  employment and Defendant American StaffCorp notified Plaintiff of her termination.

  Based upon information and belief the decision to terminate Plaintiff’s employment was

  made by Defendants, collectively, and Defendants are an integrated enterprise or “joint”

  employers or the “single” employers of Plaintiff.

                                   IV. Background Facts

        4.1    Plaintiff is female and African-American.

        4.2    On or about September 14, 2020 Plaintiff was employed by Defendants to

  assist in shipping and receiving at the warehouse of Defendant Zebco Sales Company.
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  Plaintiff had been sent to Defendant Zebco Sales Company by Defendant American

  StaffCorp.

         4.3    Throughout her employment, Plaintiff always met or exceeded her

  performance expectations.

         4.4    Plaintiff was supervised by David (last name unknown) and Joe (last name

  unknown).     Ron (last name unknown) is representative of Defendant American

  StaffCorp.

         4.5    Beginning the second week of employment and to her discharge on October

  21, 2020, Plaintiff was subjected to insults and slurs based upon her against her race,

  color and/or gender from two male employees in the same department.

  Internal Complaints

         4.6    A male co-worker (name unknown) called her a “bitch” and threatened to

  “beat your ass”. Plaintiff reported his comments to Joe (last name unknown), Supervisor.

  Ron later told Plaintiff that the male co-worker was terminated.

         4.7    Another male co-worker, Nick Noble, Caucasian, frequently referred to

  Plaintiff as the “black bitch” or “dark” or while Plaintiff was talking he would say “black

  power”.

         4.8    Plaintiff reported the derogatory comments and slurs to Supervisor Joe (last

  name unknown) and Ron (last name unknown). Her other supervisor, David, was out on

  vacation.

         4.9    The harassment from Noble continued.


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         4.10     Plaintiff continued to report the racial harassment from Noble to Supervisor

  Joe and Ron, staffing contact while Supervisor David was still on vacation.

         4.11     Supervisor David returned from vacation.

  Suspension and Termination

         4.12     On or about October 21, 2020, after Noble referred to Plaintiff as “black

  bitch”, Plaintiff reported the slur to both of her Supervisors Joe and David. A meeting

  was set with Supervisor David and Joe. Here, David told Plaintiff that she “complained

  too much” and that it was female gender and her female hormones causing her to be

  overly upset. David told her if she kept complaining that she would no longer have a job.

  David then suspended Plaintiff for the remainder of her shift.

         4.13     While Plaintiff was exiting the building,     Plaintiff was notified of her

  termination of employment by Ron, Defendant American StaffCorp, based upon David’s

  instructions.

         4.14     In the same meeting later that morning with David and Ron, David had told

  Plaintiff that she was a good worker.

         4.15     Based upon information and belief, Defendants did not investigate or

  institute remedial measures toward the discriminatory conduct directed toward Plaintiff

  by Noble.

                    COUNT I: Race/Color Discrimination in Termination
                         (Title VII and Section 1981 and OADA)

         5.1      Plaintiff incorporates and realleges, in full, paragraphs 4.1 through 4.15 of

  the Original Complaint.

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           5.2   At all times material to this cause of action, Defendants have continuously

  been and are an employer "engaged in an industry affecting commerce" within the

  meaning of 42 U.S.C. § 2000e(a), (b), (g) & (h), and has continuously employed and does

  employ fifteen or more employees within the meaning of 42 U.S.C. § 2000e(b) & (f).

           5.3   Plaintiff was an "employee" of Defendants and Defendants were Plaintiff's

  "employer", within the meaning of 42 U.S.C. § 2000e(f), throughout her employment.

           5.4   Plaintiff’s race and color were a motivating factor in Defendants’ decision

  to terminate the employment of Plaintiff. Defendants otherwise willfully, knowingly and

  intentionally discriminated against Plaintiff on the basis of her race and color in her

  termination of employment.        By engaging in such conduct, Defendants violated 42

  U.S.C. § 1981 and Section 703(a)(1) of Title VII and OADA, which makes it an unlawful

  employment practice to terminate the employment of an individual because of race or

  color.

           5.5   Defendants engaged in the conduct alleged herein with malice and reckless

  indifference to the federally protected rights of Plaintiff.

           5.6   As a direct and proximate result of the unlawful discharge of her

  employment under this Count, Plaintiff has been damaged by the loss of compensation

  and other pecuniary benefits she would have received as an employee at Defendants had

  Defendants retained Plaintiff in accordance with 42 U.S.C. § 1981 and Title VII and

  OADA.




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         5.7    As a direct and proximate cause of Defendants’ conduct, Plaintiff has

  suffered pecuniary losses, the type and amount of which will be established at the trial of

  this cause.

         5.8    As a direct and proximate result of Defendants’ conduct alleged under this

  Count, Plaintiff has suffered nonpecuniary losses, including the emotional pain, suffering,

  inconvenience, mental anguish and loss of enjoyment of life.

                 COUNT II: Retaliation in Termination of Employment
                            (Title VII and Section 1981)

         6.1    Plaintiff incorporates and realleges, in full, paragraphs 1.1 through 5.8 of

  this Original Complaint.

         6.2    By Plaintiff holding the good faith belief that she was opposing

  discrimination and complaining of such conduct within management, Plaintiff was

  opposing or complaining of discrimination made unlawful by Title VII and 42 U.S.C. §

  1981. Plaintiff was therefore engaged in activity protected under Section 704(a) of Title

  VII and 42 U.S.C. § 1981.

         6.3    Plaintiff’s complaining of and opposition to discrimination was a

  motivating factor in her discharge. Defendants willfully, knowingly and intentionally

  discriminated against Plaintiff on the basis of her opposition to and complaint of

  discrimination in her termination of employment.

         6.4    By engaging in the aforementioned conduct, Defendants violated, and

  continue to violate Section 703(a)(1) & 704 (a) of Title VII and 42 U.S.C. § 1981, which

  makes it an unlawful employment practice for an employer to discriminate against any

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  person because she has opposed or complained of any practice made an unlawful

  employment practice by Title VII and 42 U.S.C. § 1981.

         6.5    Defendants engaged in the conduct alleged under this Count with malice

  and reckless indifference to the federally protected rights of Plaintiff.

         6.6    As a direct and proximate result of the violations of Title VII and Section

  1981 alleged under this Count, Plaintiff has been damaged by the loss of her employment

  and loss of compensation and benefits and promotions and other pecuniary benefits she

  would have received as an employee had Defendants not terminated Plaintiff in violation

  of Title VII and 42 U.S.C. § 1981.

         6.7    As a direct and proximate result of the violations of Title VII and Section

  1981 alleged under this Count, Plaintiff has also suffered mental and emotional distress.

         6.8    As a direct and proximate result of the violations of Title VII and 42 U.S.C.

  § 1981 alleged under this Count, Plaintiff has also suffered other pecuniary losses, the

  type and amounts of which will be established at the trial of this cause.

                               COUNT III: Racial Harassment
                                 (Title VII and Section 1981)

         7.1    Plaintiff incorporates and realleges, in full, paragraphs 1.1 through 6.8 of

  the Original Complaint.

         7.2    Defendants willfully, knowingly and intentionally discriminated against

  Plaintiff on the basis of her race and color by maintaining a hostile and abusive work

  environment in which she was subject to unwelcome racial harassment, which was so

  severe, pervasive and humiliating that the terms, conditions and privileges of her

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  employment palpably deteriorated. Defendants otherwise knew or should have known of

  such racial harassment and yet failed to take prompt remedial and corrective action. By

  such conduct and omissions, Defendants violated 42 U.S.C. § 1981 and Section 703(a)(1)

  of Title VII, which make it an unlawful employment practice for an employer to

  discriminate against any person because of race or color.

         7.3     Defendants engaged in the conduct alleged herein with malice and reckless

  indifference to the federally protected rights of Plaintiff.

         7.4     As a direct and proximate result of the unlawful racial harassment alleged

  under this Count, and particularly the hostile and abusive work environment which she

  was required to endure, Plaintiff has suffered nonpecuniary losses, including the

  emotional pain, suffering, inconvenience, mental anguish and loss of enjoyment of life.

         7.5     As a direct and proximate cause of the unlawful racial harassment alleged

  under this Count, Plaintiff has suffered pecuniary losses, the type and amount of which

  will be established at the trial of this cause.

                 Count IV: Sex Discrimination/Hostile Work Environment
                                       (Title VII)


         8.1     Plaintiff incorporates and realleges, in full, paragraphs 1.1 through 7.5 of this

  Original Complaint.

         8.2     Defendants willfully, knowingly and intentionally discriminated against

  Plaintiff on the basis of sex, continuously throughout her entire employment, by

  continuously subjecting Plaintiff to (a) unwelcome remarks of a demeaning nature and


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  stereotypical comments, disrespectful, demeaning, intimidating and offensive behavior,

  obscene profanity and (2) threats of physical harm.

           8.3   Such conduct was so extreme and pervasive that it unreasonably interfered

  with Plaintiff's work performance and otherwise created for her an intimidating, hostile

  and offensive working environment at Defendants.          By engaging in such conduct,

  Defendants violated Section 703(a)(1) of Title VII and OADA, which makes it an

  unlawful employment practice for an employer to discriminate against any individual

  with respect to her compensation, terms, conditions, or privileges of employment because

  of her sex.

           8.4   As a direct and proximate result of the violations of Title VII and OADA

  alleged under this Count, Plaintiff has also suffered mental and emotional distress.

           8.5   Defendants engaged in the conduct alleged under this Count with malice and

  reckless to the federally protected rights of Plaintiff, within the meaning of 42 U.S.C. §

  1981a.

           8.6   As a direct and proximate result of the violations of Title VII and OADA as

  alleged under this Count, Plaintiff has been damaged by the loss of her employment with

  Defendants and the loss of compensation, including commissions, bonuses and employee

  benefits, and promotions she would have received as an employee of Defendants had she

  not been discriminated against on the basis of her sex and in her discharge in violation of

  Title VII and OADA.




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         8.7    As a direct and proximate cause of the violations of Title VII and OADA as

  alleged under this Count, Plaintiff has also suffered other pecuniary losses, the type and

  amount of which will be established at the trial of the cause.

                         Count V: Sex Discrimination in Termination
                                   (Title VII and OADA)

         9.1    Plaintiff incorporates and realleges, in full, paragraphs 1.1 through 8.7 of this

  Original Complaint.

         9.2    Plaintiff's sex was a motivating factor in her termination of employment.

  Defendants otherwise willfully, knowingly and intentionally discriminated against Plaintiff

  on the basis of her sex in her discharge. By engaging in such conduct, Defendants violated,

  and continue to violate Section 703(a)(1) of Title VII and OADA, which makes it an

  unlawful employment practice for an employer to discharge any individual because of her

  sex.

         9.3    Defendants engaged in the conduct alleged under this Count with malice

  and reckless to the federally protected rights of Plaintiff, within the meaning of 42 U.S.C.

  § 1981a.

         9.4    As a direct and proximate result of the violations of Title VII and OADA

  alleged under this Count, Plaintiff has been damaged by the loss of her employment with

  Defendants and the loss of compensation, including commissions, bonuses and employee

  benefits, and promotions she would have received as an employee of Defendants had she

  not been discriminated against because of sex and not been discharged in violation of

  Title VII and OADA.

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         9.5    As a direct and proximate result of the violations of Title VII and OADA

  alleged under this Count, Plaintiff has also suffered mental and emotional distress.

         9.6    As a direct and proximate cause of Defendants’ violations of Title VII and

  OADA as alleged under this Count, Plaintiff has also suffered other pecuniary losses, the

  type and amount of which will be established at the trial of this cause.

                                      V. Prayer for Relief

         Plaintiff prays for and demands the following relief:

         WHEREFORE, PLAINTIFF prays that this Court:

         1.     A judgment that Defendants has engaged in all of the conduct alleged in

  this Original Complaint, and that Defendants have, by engaging in such conduct, violated

  Title VII, § 1981 and OADA.

         2.     An injunction permanently enjoining Defendants from engaging in the

  future the discriminatory employment practices alleged in this Original Complaint.

         3.     A judgment against Defendants awarding Plaintiff an amount equal to the

  lost wages and employment benefits had she not been terminated by Defendants in

  violation of Title VII, § 1981 and the OADA.

         4.     An order reinstating Plaintiff to the position, seniority and level of

  compensation, including salary, bonuses and benefits, she would have enjoyed had she

  not been terminated by Defendants in violation of Title VII, § 1981 and OADA, or, in the

  alternative, a judgment awarding Plaintiff an amount equal to the front pay, including

  salary, bonuses and benefits, she would have received, from the date of judgment through

  the date she would have retired or resigned from employment at Defendants.
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           5.   A judgment against Defendants awarding Plaintiff compensatory damages

  as redress for Defendants’ unlawful conduct under Title VII, § 1981 and OADA.

           6.   A judgment against Defendants awarding Plaintiff compensation for past

  and future nonpecuniary losses, including but not limited to emotional pain, suffering,

  inconvenience, loss of enjoyment of life and humiliation, in amounts to be determined at

  trial.

           7.   A judgment for exemplary damages to punish and make example of

  Defendants unlawful conduct.

           8.   A judgment against Defendants awarding Plaintiff an amount equal to the

  costs of bringing this action, including a reasonable attorney fee.

           9.   A judgment awarding Plaintiff such other legal and equitable relief as may

  be appropriate, including prejudgment and postjudgment interest.

                                             Respectfully submitted,



                                             S/Jeff Taylor
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                                             ATTORNEYS FOR PLAINTIFF


                               DEMAND FOR JURY TRIAL

         In accordance with Fed.R.Civ.P. 38(b), Plaintiff demands a jury trial of all her
  claims.
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                                                 S/Jeff Taylor
                                                 Jeff A. Taylor




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